     Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 1 of 26 PageID #: 185




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            HUNTINGTON DIVISION


MATHEW BYRD,

                Movant,

v.                                                                 Case No. 3:21-cv-00404
                                                                   Case No. 3:19-cr-00080-1

UNITED STATES OF AMERICA,

                Respondent.


                  PROPOSED FINDINGS AND RECOMMENDATION

        Pending before the Court is Movant's Motion to Vacate, Set Aside, or Correct

Sentence, pursuant to 28 U.S.C. § 2255. (ECF No. 146). This matter is assigned to the

Honorable Robert C. Chambers, United States District Judge, and it is referred to the

undersigned United States Magistrate Judge for submission of proposed findings and a

recommendation for disposition pursuant to 28 U.S.C. § 636(b)(1)(B).

                          I.      RELEVANT PROCEDURAL HISTORY 1

        Through three controlled buys that occurred at a residence in St. Albans, West

Virginia on January 25, January 27, and January 31, 2019, Mathew Byrd (hereinafter

“Defendant”) sold a total of 20 grams of heroin to a confidential informant (“CI”). On

February 5, 2019, officers executed a search warrant on Defendant’s residence in

Barboursville, West Virginia where they located and recovered 254 grams of heroin,

$10,009 in United States currency, digital scales, and a money counter. A Ruger .380



1 The undersigned’s citations to the district court record herein will refer to the docket entries as “ECF No.

___” and will use the pagination appearing at the top of the ECF document (which may differ from the page
numbers appearing within the document itself, such as transcript pagination).
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 2 of 26 PageID #: 186




LCP II handgun was found in a bedroom dresser top left drawer in close proximity to the

drugs and money. (ECF No. 3, Attach. 1).

       On February 15, 2019, the United States of America (“the government”) filed a

criminal complaint charging Defendant with a violation of 21 U.S.C. § 841(a)(1). (ECF

No. 3). Then, on March 19, 2019, Defendant was charged by a federal grand jury in a

five-count indictment with three counts of distribution of heroin in violation of 21 U.S.C.

§ 841(a)(1) (Counts One, Two, and Three), one count of possession with intent to

distribute heroin in violation of 21 U.S.C. § 841(a)(1) (Count Four), and one count of

possession of a firearm in furtherance of a drug trafficking offense, in violation of 18

U.S.C. § 924(c) (Count Five). (ECF No. 20). Throughout the relevant district court

proceedings Defendant was represented by retained counsel, R. Lee Booten, II

(“Booten”). At some point during his representation of Defendant, Booten received

rehabilitative treatment for substance abuse.

       A.     Defendant’s guilty plea proceedings.

       On July 8, 2019, Defendant pled guilty, without a plea agreement, to Counts Three

and Five of the indictment. (ECF Nos. 53). The district court conducted a thorough plea

colloquy in accordance with Rule 11 of the Federal Rules of Criminal Procedure, including

receiving Defendant’s own factual basis for his guilty pleas to both Counts Three and Five,

the government’s proffer of evidence to support the essential elements of the crimes set

forth in the indictment (which included the testimony of one of the investigating officers),

and Defendant’s acknowledgement of the rights he was waiving and his satisfaction with

his attorney’s representation. (ECF No. 87, Plea Hrg. Tr., passim).

       Of note, after Defendant was sworn, and after finding that he was competent to

enter an informed plea, the Court asked Defendant, “[h]ave you had enough time to

                                             2
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 3 of 26 PageID #: 187




discuss your case with your lawyer?” (Id. at 2). Defendant replied, “[y]es, Your Honor.”

(Id.) When asked by the Court, “[h]as he been able to answer your questions about what

you should do?” Defendant again replied, “[y]es, Your Honor.” (Id. at 2-3). The Court

then asked, “[a]re you completely satisfied with the legal advice he’s given you?” (Id. at

3). Defendant once again replied, “[y]es, Your Honor.” (Id.) The Court then discussed

each of the counts on which Defendant had indicated his intent to plead guilty and the

fact that he was doing so without a plea agreement. (Id. at 3-12).

      With respect to the firearm offense contained in Count Five, the following

exchange occurred:

              THE COURT: All right. Now let’s turn to Count Five. There you’re
      charged with violating Section 924. That law says: Any person who, during
      and in relation to any crime of violence or drug trafficking crime for which
      the person may be prosecuted in a court of the United States, uses or carries
      a firearm or who, in furtherance of any such crime, possesses a firearm shall
      be guilty of another crime against the United States.

      As to Count Five, the government would have to prove beyond a reasonable
      doubt these elements: First, that you committed a drug trafficking crime for
      which you may be prosecuted in a court of the United States, such as the one
      you just admitted in Count Three; and, second, during and in relation to the
      commission of that crime, you knowingly used or carried a firearm or, in
      furtherance of such crime, possessed a firearm.. . . .

             THE COURT: So considering this explanation, do you believe you’re
      guilty of Count Five?

             DEFENDANT: Yes, Your Honor.

             THE COURT: Tell me what you did that makes you guilty of this.

             DEFENDANT: On February the 5th, the police came to my house,
      and I had drugs in one room and a gun in another room. And that’s basically
      it.

            THE COURT: All right. Were you in possession of drugs that you
      intended to sell or distribute?

             DEFENDANT: Yes.

                                            3
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 4 of 26 PageID #: 188




              THE COURT: So you possessed this firearm at least partly because
       you knew you were storing drugs in this residence, and that you might need
       protection of either you or the drugs?

              DEFENDANT: Yes.

(ECF No. 87 at 10-12).

       The government also offered the testimony of West Virginia State Police Sergeant

L.J. Deskins (“Deskins”), who was present during the search of Defendant’s Barboursville

residence. Deskins testified that, when the warrant was executed, Defendant and his

significant other were found in a downstairs bedroom. (ECF No. 87 at 14). The subject

.380 Ruger firearm was located in a dresser in the bedroom and $1,304 in U.S. currency

bound in rubber bands was sitting on top of the dresser. (Id. at 14-15). In a closet adjacent

to the bedroom, officers found 254 grams of tar heroin and an additional $9,000 in cash,

including $365 that had previously been recorded and utilized in the controlled purchases

by the CI working with law enforcement in this case. (Id. at 15). In the kitchen, officers

also found a money counter and digital scales, items that are indicative of drug trafficking.

(Id.) Deskins further confirmed that, although he was not directly involved in the

controlled buys, he had reviewed audio and visual evidence of the controlled buy from

Defendant on January 31, 2019. (Id. at 17). Deskins stated that there was no indication

that Defendant carried the firearm with him during the drug transactions. (Id. at 17-18).

However, during this exchange, Booten confirmed that Defendant had told him, as he had

told the court, that he had the gun there for protection. (Id. at 17).

       B.     Defendant’s sentencing proceedings.

       On January 23, 2020, Defendant, by counsel, filed a thorough sentencing

memorandum addressing Defendant’s mental health history and emphasizing his lack of

criminal history and the fact that Defendant did not use or carry the firearm during the

                                              4
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 5 of 26 PageID #: 189




subject drug transactions. (ECF No. 69). On January 24, 2020, Defendant, by counsel,

also filed a motion for a presentence mental evaluation and motion to continue the

sentencing hearing. (ECF Nos. 70 and 71).

      Defendant appeared for sentencing on February 3, 2020. (ECF No. 88). The Court

began by addressing Defendant’s motion for a presentence mental evaluation. (Id. at 1-

3). Booten stated the basis for the motion was Defendant’s “history of mental issues” and

that such evaluation would aid the court in fashioning an appropriate individualized

sentence and clarified that he was not claiming incompetency. (Id.) The Court denied

the motion stating that, while Defendant had a long history of substance abuse, some

learning disabilities, anxiety, and depression, those were not compelling reasons to delay

sentencing for a mental evaluation. (Id. at 3-4). Nothing in the motion implicated

Defendant’s competency to enter a guilty plea or to proceed to trial. Thus, the Court found

that it would be counterproductive to continue the sentencing hearing when the Bureau

of Prisons could conduct a mental evaluation and address appropriate mental health

treatment concerns. (Id.)

      The parties made no objections to the Presentence Investigation Report (“PSR”).

(Id.) In accordance with section 2K2.4(b) of the United States Sentencing Guidelines

(“U.S.S.G.”), the firearms offense in Count Five had a statutorily required consecutive

five-year (60-month) sentence. (ECF No. 77 at 8, ¶ 31). Based on the quantity of drugs

and currency, in accordance with U.S.S.G. § 2D1.1(c)(8), the recommended base offense

level under the guidelines for the drug offense in Count Three was 24. (ECF No. 77 at 7-

8, ¶¶ 20-26). Due to his guilty plea, Defendant received a three-level reduction for

acceptance of responsibility, resulting in a total offense level of 21. (Id., ¶¶ 28-29). He

was assessed four criminal history points under U.S.S.G. § 4A1.1, resulting in a Criminal

                                            5
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 6 of 26 PageID #: 190




History Category of III. (Id. at 8-9, ¶¶ 32-38). Thus, the PSR ultimately recommended a

guideline range of 46-57 months of imprisonment for Count Three. (Id. at 15, ¶ 68). After

Defendant acknowledged that he had sufficient time to discuss the PSR with Booten and

understood it, the Court adopted the recommended offense level and other guideline

calculations for the drug offense and Defendant moved for a downward variance from the

guideline range. (ECF No. 88 at 5-8).

       Booten argued for a total sentence of 72 months, consisting of 12 months for the

drug conviction and the consecutive 60 months for the firearm conviction. (Id. at 8-10).

This request for a downward variance was based on Defendant having a 10-year-old

domestic battery conviction (claiming that his criminal history was overrepresented),

being a drug addict, and the fact that the firearm was not carried by him during the drug

transactions. (Id.)

       When asked to give his allocution, Defendant addressed the court as follows:

               DEFENDANT: And basically I really, umm, gave Mr. Booten every
       opportunity to, you know, speak for me, but had I known what I know now,
       I probably wouldn’t have kept him as my attorney. I fought with him this
       entire case. Poor, you know, communication with Stephanie Taylor. I don’t
       blame anybody but myself for that. I - you know, when I took this plea, you
       know, a month later he was in rehabilitation for a month or two, however
       long it was. You know, all the research I’ve done, it’s not really a 924(c). I’m
       not denying my conduct in any sort of way, but I really feel had I known
       what I know now, I would, you know, really change - change things. . . .

(Id. at 10-11).

       The Court noted that, if Defendant was dissatisfied with Booten’s assistance, he

had ample time to address that issue with the court and seek new counsel but failed to do

so. (Id. at 11). With respect to the firearms offense, the Court advised Plaintiff as follows:

       As far as the gun, federal law makes clear that the presence, the mere
       presence of a firearm around drugs and the indicia of drug dealing is enough
       for a court to find, as you have admitted, that the person used the firearm

                                              6
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 7 of 26 PageID #: 191




       in the commission of the offense. Undoubtedly when people have a large
       amount of drugs, conduct drug transactions, keep a large amount of cash,
       they feel the need to have the protection of a firearm. That is evident here
       as well.

(Id. at 13-14). The Court ultimately denied Defendant’s motion for a downward variance

and sentenced him to a 46-month term of imprisonment (falling at the very bottom of the

guideline range) for the drug conviction, and a consecutive 60-month sentence for the

firearm offense, for a total term of imprisonment of 106 months. (Id. at 14-15). In denying

the motion for a downward variance, the Court noted Defendant’s prior federal conviction

for drug distribution (also making him a felon in possession of a firearm) and stated,

“when you chose to engage in this type of serious drug dealing with a felony conviction

already under your belt, you should have realized that you were digging yourself in a very

deep hole. So I’m not inclined to vary below the guideline range.” (Id. at 14).

       C.     Defendant’s direct appeal.

       On February 7, 2020, Defendant filed a timely notice of appeal. (ECF No. 78). On

appeal, represented by newly retained counsel, Patrick A. Mullin (“Mullin”), Defendant

argued that Booten was ineffective in advising him to plead guilty to the firearm count;

that the district court unreasonably denied his request for a downward variance; and that

the district court abused its discretion in denying his motion for a presentence mental

evaluation. On January 7, 2021, the United States Court of Appeals for the Fourth Circuit

denied the appeal in an unpublished per curiam opinion. United States v. Byrd, No. 20-

4116, 848 F. App’x 762 (4th Cir. Jan. 7, 2021). The Court found that Defendant’s sentence

was procedurally and substantively reasonable; that the district court did not abuse its

discretion in denying Defendant’s motion for presentence mental evaluation; and that the

record did not conclusively show that counsel was ineffective, leaving that matter to be


                                            7
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 8 of 26 PageID #: 192




addressed in post-conviction habeas corpus proceedings. Id. Defendant’s petitions for

rehearing and rehearing en banc were subsequently denied. United States v. Byrd, No.

20-4116, Doc. 35. On April 19, 2021, the United States Supreme Court denied Defendant’s

petition for a writ of certiorari, rendering his judgment final. Byrd v. United States, No.

20-7524, 141 S. Ct. 2549 (U.S., Apr. 19, 2021).

       D.     The instant § 2255 motion and related briefing.

       On July 19, 2021, Defendant filed the instant § 2255 motion raising various claims

of ineffective assistance of counsel. (ECF No. 146). Defendant argues that Booten should

have filed a motion to suppress evidence seized pursuant to the search warrant for the

Barboursville residence; that Booten erred in failing to request a mental evaluation before

Defendant pled guilty; and that Booten should have challenged the factual basis for the §

924(c) conviction. (Id. at 4).

       Defendant also claims the district court abused its discretion by accepting

Defendant’s guilty plea to the § 924(c) charge in Count Five because the government did

not prove “active employment” of the firearm and because Defendant did not understand

the elements of that offense. (Id. at 7). Defendant’s motion further asserts that Mullin

provided ineffective assistance of counsel because he failed to raise these substantive

issues on appeal. (Id. at 5).

       On November 11, 2021, as ordered by the Court, Booten filed an affidavit

addressing Defendant’s various claims of ineffective assistance of counsel. (ECF No. 167).

The material portions of the affidavit will be further addressed infra.

       On November 22, 2021, Defendant filed an amended memorandum in support of

his § 2255 motion.       (ECF No. 172).     The amended memorandum elaborates on

Defendant’s claim that Booten provided ineffective assistance of counsel prior to his guilty

                                             8
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 9 of 26 PageID #: 193




plea by failing to properly communicate with him and inform him of the essential

elements of a § 924(c) offense and the consequences of his guilty plea. (Id. at 2, 14-20).

Additionally, the amended memorandum asserts that Booten failed to review and explain

his PSR to him and failed to object to the PSR at sentencing. (Id. at 2, 20-23). Defendant

seeks an evidentiary hearing to resolve alleged disputed facts concerning these issues. (Id.

at 2, 23-29).

       On December 3, 2021, the government filed a response to Defendant’s § 2255

motion asserting that Defendant’s sworn statements during his guilty plea hearing and

other evidence of record fail to establish that his guilty plea was not knowing and

voluntary, that he received ineffective assistance of counsel during the plea or sentencing

stages, or that the district court abused its discretion in sentencing. (ECF No. 177).

       On December 20, 2021, Defendant filed a reply brief. (ECF No. 181). Defendant

again claims that Booten did not properly consult with him and advise him about the

elements of a § 924(c) offense, causing him to plead guilty without a full understanding

of the consequences thereof, including the fact that he was pleading guilty to a charge that

required a consecutive sentence with a mandatory minimum. (Id. at 2-3). He further

claims that Booten told him to just “agree with the judge” to avoid going to trial and that

he was “led by the Court at the Rule 11 plea hearing in the plea colloquy to admit his guilt.”

(Id. at 3-4). Defendant further suggests that he is “actually innocent” of a § 924(c) offense

because he did not use, carry, or brandish (that is “actively employ”) the firearm during a

drug transaction. (Id. at 6). Defendant also claims that Booten failed to file a motion to

suppress the evidence seized pursuant to the search warrant despite his request to do so

and makes a blanket statement that the search warrant was invalid.              (Id. at 4-5).

Defendant again asserts an evidentiary hearing is necessary. (Id. at 2, 7).

                                              9
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 10 of 26 PageID #: 194




       Defendant suggests disbelief that Booten ever examined the search warrant

because he “was in the process of going into rehab.” (Id. at 5). However, Booten’s affidavit

asserts that he did review the search warrant and did not believe there was any valid basis

to challenge it. (ECF No. 167 at 2). Defendant’s reply also asserts that the evidence was

insufficient to support his § 924(c) conviction and that, at best, would support a two-level

enhancement under U.S.S.G. § 2D1.1(b)(1). (ECF No. 181 at 3, 5-6). Defendant’s reply

again asserts that Booten failed to file any objections to his PSR and specifically claims

that his criminal history category was incorrect, resulting in a “much harsher sentence.”

(Id. at 6-7).

                             II.    STANDARD OF REVIEW

       Under 28 U.S.C. § 2255, a movant must prove by a preponderance of the evidence

that “[his] sentence was imposed in violation of the Constitution or laws of the United

States, or that the court was without jurisdiction to impose such sentence, or that the

sentence was in excess of the maximum authorized by law. . . .” 28 U.S.C. § 2255 (2012);

Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958); Sutton v. United States of

America, No. 2:02-cr-65, 2:05-cv-91, 2006 WL 36859, at *2 (E.D. Va. Jan. 4, 2006) (“A

motion collaterally attacking a prisoner's sentence brought pursuant to § 2255 requires

the [movant] to establish his grounds by a preponderance of the evidence.”). If the § 2255

motion, along with the records of the case, “conclusively show that [the movant] is

entitled to no relief,” a hearing on the motion is unnecessary and the claims raised in the

motion may be dismissed. Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).




                                            10
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 11 of 26 PageID #: 195




                                  III.   DISCUSSION

      A.      Validity of guilty plea and effectiveness of counsel in plea process.

      Defendant first claims that Booten provided ineffective assistance during the guilty

plea phase of his case. The Supreme Court addressed the right to effective assistance of

counsel as guaranteed by the Sixth Amendment in Strickland v. Washington, 466 U.S.

668 (1984), in which the Court adopted a two-pronged test.             The first prong is

competence; movant must show that the representation fell below an objective standard

of reasonableness. Id. at 687-91. There is a strong presumption that the conduct of

counsel was in the wide range of what is considered reasonable professional assistance,

and a reviewing court must be highly deferential in scrutinizing the performance of

counsel. Id. at 688-89.

            In order to meet the first prong, movant must identify the acts or
      omissions of counsel that are alleged not to have been the result of
      reasonable professional judgment. The court must then determine
      whether, in light of all the circumstances, the identified acts or omissions
      were outside the wide range of professionally competent assistance. . .
      [C]ounsel is strongly presumed to have rendered adequate assistance and
      made all significant decisions in the exercise of reasonable professional
      judgment.

Id. at 690.    This inquiry is directed at whether defense counsel’s representation

“amounted to incompetence under ‘prevailing professional norms,’ not whether it

deviated from best practices or most common custom.” Harrington v. Richter, 562 U.S.

86, 105 (2011). “The question is whether counsel made errors so fundamental that

counsel was not functioning as the counsel guaranteed by the Sixth Amendment.” Id. at

88.

      The second prong is prejudice; "[t]he defendant must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the


                                            11
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 12 of 26 PageID #: 196




proceeding would have been different. A reasonable probability is a probability sufficient

to undermine confidence in the outcome." Id. at 694. The court may determine the

prejudice prong prior to considering the competency prong if it is easier to dispose of the

claim on the ground of lack of prejudice. Id. at 697.

       In Hill v. Lockhart, the Supreme Court held that the two-part Strickland standard

applies to challenges to guilty pleas based upon ineffective assistance of counsel. 474 U.S.

52, 58 (1985). However, in assessing the prejudice prong, courts must consider “whether

there is a reasonable probability that, but for counsel’s errors, [the defendant] would not

have pleaded guilty and would have insisted on going to trial.” Id. at 59. Furthermore,

“[w]hen evaluating objective reasonableness under the prejudice prong of Strickland, the

challenger's subjective preferences . . . are not dispositive; what matters is whether

proceeding to trial would have been objectively reasonable in light of all of the facts.”

Christian v. Ballard, 792 F.3d 427, 452-53 (4th Cir. 2015) (citing United States v.

Fugit, 703 F.3d 248, 260 (4th Cir. 2012)). Thus, Defendant cannot satisfy Strickland

“merely by telling the court now that he would have gone to trial then if he had gotten

different advice” from Booten. Id. Instead, Defendant must “‘convince the court that a

decision to reject the plea bargain would have been rational under the circumstances.’”

Id. (quoting Padilla v. Kentucky, 559 U.S. 356, 372 (2010)); see also Hill v. United States,

No. 2:15-cr-00026, 2019 WL 3425049, at *15 (S.D.W. Va. May 21, 2019), report and

recommendation adopted, 2019 WL 2745852 (S.D.W. Va. July 1, 2019).

       Defendant’s claims largely arise out of the voluntariness of his guilty plea

concerning the § 924(c) firearm offense in Count Five. Defendant claims that Booten

failed to communicate with him sufficiently and effectively about the essential elements

of that offense prior to his guilty plea and that there was no factual basis for his guilty plea

                                              12
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 13 of 26 PageID #: 197




to that offense.   However, Defendant’s present assertions are wholly belied by the

acknowledgements and admissions he made during his plea hearing.

       As noted by the government, the Fourth Circuit held that a defendant’s statements

made under oath during a Rule 11 plea colloquy carry such a strong presumption of verity,

that “they present a formidable barrier in any subsequent collateral proceedings.” United

States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (citing United States v. White, 366

F.3d 291, 295-96 (4th Cir. 2004)). Thus, absent extraordinary circumstances, allegations

in a § 2255 motion that directly contradict a defendant’s sworn statements made during

a properly conducted Rule 11 colloquy are considered “palpably incredible” and “patently

frivolous or false.” Id. (ECF No. 177 at 12-13).

       At his plea hearing, Defendant gave sworn responses to the Court and

acknowledged that he understood the charges to which he was pleading, the penalties for

each charge, and the consequences of his plea. He further represented that he was fully

satisfied with the assistance of his counsel, that pleading guilty was his own decision, and

that no one had forced or coerced him to do so. Moreover, notwithstanding Defendant’s

contention that Booten failed to sufficiently explain the essential elements of a § 924(c)

offense before he plead guilty, it is clear from the plea hearing transcript that, before

accepting his guilty plea, the Court specifically addressed the statutory elements and

Defendant’s acknowledgement of the factual basis for the offense.

       Defendant’s briefs rely extensively on the Supreme Court’s decision in Bailey v.

United States, 516 U.S. 137 (1995), which analyzed a former version of the § 924(c)

statute, which only addressed using or carrying a firearm during a drug trafficking crime

and essentially found that “active employment” of the firearm was necessary to meet those



                                            13
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 14 of 26 PageID #: 198




statutory elements. Defendant emphasizes that he did not actively employ the firearm

during any of the controlled buys involved in this case.

       However, after Bailey, Congress amended § 924(c)(1)(A) to broaden the reach of

the statute to include the element of possession of a firearm in furtherance of a drug

trafficking crime, which does not require active employment of the firearm, and can be

satisfied by possessing a firearm for protection of drugs and proceeds from drug sales.

Essentially, the evidence, taken in the light most favorable to the government, must tend

to show that the firearm “furthered, advanced, or helped forward a drug trafficking

crime.” United States v. Lomax, 293 F.3d 701, 705 (4th Cir. 2002).

       The Fourth Circuit has recognized that “there are many factors that might lead a

fact finder to conclude that a connection existed between a defendant's possession of a

firearm and his drug trafficking,” including “the type of drug activity that is being

conducted, accessibility of the firearm, the type of weapon, whether the weapon is stolen,

the status of the possession (legitimate or illegal), whether the gun is loaded, proximity to

drugs or drug profits, and the time and circumstances under which the gun is found.” Id.

at 705. However, these factors are not exclusive, and all need not be met. Id. The

appellate court specifically noted that “a gun could provide a defense against someone

trying to steal drugs or drug profits, or it might lessen the chance that a robbery would

even be attempted.” Id.; United States v. Jeffers, 570 F.3d 557, 565 (4th Cir. 2009) (§

924(c) conviction appropriate where it is based, in part, on Defendant’s admission that

he kept firearms to guard against would-be robbers of drugs and drug proceeds). Based

upon these cases, it is clear that “active employment” is not required and the fact that

Defendant did not actively employ or carry a firearm during the subject drug transactions

is of no moment.

                                             14
    Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 15 of 26 PageID #: 199




        Booten’s affidavit asserts that he and Defendant had numerous discussions about

his potential sentencing exposure and the benefits of pleading guilty to both Counts Three

and Five. (ECF No. 167 at 3-4). 2 Booten states that he believed that, if he went to trial,

Defendant would be convicted of Count Five based upon the gun being considered “in

furtherance of a drug trafficking crime,” due to its proximate location to the heroin and

currency in the adjoining closet. (Id. at 4). Thus, Booten asserts that Defendant’s plea

was knowing and voluntary and in his best interest. (Id.)

        Moreover, the Court advised Defendant about the possession in furtherance

element at the plea hearing and Defendant acknowledged that he possessed the firearm

in question to protect the drugs and money he had in his residence. Thus, Defendant was

properly advised of the essential elements of the § 924(c) offense and acknowledged

conduct that satisfied those elements. Defendant must be held to these admissions.

Accordingly, it cannot be said that the possession of the firearm was coincidental or

entirely unrelated to his drug crimes.

        Defendant’s case is similar to that of Lawson v. United States, Nos. 17-cv-122; 13-

cr-702, 2018 WL 1795339 (D. Md. Apr. 16, 2018). In Lawson, the defendant pled guilty

to various charges, including a § 924(c) offense, but subsequently asserted that his firearm

was not used in furtherance of drug trafficking. The Maryland court’s opinion noted that

Bailey was abrogated by Congress to no longer require proof of “active employment” of

the firearm, but only “possession in furtherance of” a drug trafficking crime, which was

supported by the facts and representations made by Lawson at his guilty plea hearing. Id.

at 2, n. 4. Defendant, likewise, admitted conduct satisfying this element.



2There is no indication that the government was in any way willing to negotiate a plea that did not include
Count Five.

                                                    15
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 16 of 26 PageID #: 200




       Therefore, even if Booten’s performance in the plea process somehow fell below an

objective standard of reasonableness, Defendant suffered no prejudice because he was

fully informed of the elements of the offense by the Court and admitted conduct that

satisfied those elements. He further represented to the Court that his guilty plea was his

own idea and that he was not coerced by anyone to plead guilty. Moreover, he has not

presented evidence to reasonably demonstrate that it is more likely than not that he would

not have pled guilty to the § 924(c) offense had Booten more thoroughly advised him of

the elements and consequences of his plea, because the Court properly did so, and he still

pled guilty. Considering the available evidence against him, rejecting the guilty plea was

not rational under the circumstances and Defendant’s current blanket assertions that he

would have done so and gone to trial are hollow in light of the admissions and

acknowledgements he made at the plea hearing. Thus, the District Court correctly found

that Defendant’s guilty plea was knowing and voluntary and Defendant has not

adequately demonstrated a Sixth Amendment violation based upon ineffective assistance

of counsel during the plea process.

       B.     Failure to file a motion to suppress.

       Defendant further claims that Booten provided ineffective assistance of counsel

because he did not move to suppress the evidence seized from Defendant’s residence in

Barboursville, which gave rise to the § 924(c) offense. To successfully establish ineffective

assistance of counsel based upon a failure to file a motion to suppress evidence, Defendant

must show actual prejudice by demonstrating that his “Fourth Amendment claim is

meritorious and that there is a reasonable probability that the verdict would have been

different absent the excludable evidence . . . .” Kimmelman v. Morrison, 477 U.S. 365, 375



                                             16
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 17 of 26 PageID #: 201




(1986); see also Hill v. United States, No. CIV. A. DKC 2001-3893, 2007 WL 3094902, at

*4 (D. Md. Sept. 28, 2007).

       Booten’s affidavit states that he did not file a motion to suppress because he had

no good faith grounds on which to do so. (ECF No. 167 at 2). Defendant, on the other

hand, contends that the warrant affidavit omitted the fact that other persons were present

in the St. Albans house where the drug sales occurred, and it did not address whether any

drugs and money were stored in that house. He also appears to contend that these facts

call into question the credibility of the confidential informant involved in the controlled

buys. He further asserts that there was no reasonable suspicion or probable cause to

search the Barboursville residence, where no drug sales were alleged to have occurred.

(ECF No. 146 at 18-19).

       Additionally, Defendant asserts that Booten failed to communicate with him and

would not listen to his reasons for filing a suppression motion. (ECF No. 172 at 24). He

further speculates that Booten did not even review the validity of the warrant documents

because he was “in the process of going to rehab without informing the court or the

parties,” which he contends constitutes “deficient performance under any professional

norm.” (ECF No. 181 at 5). He further contends that Booten’s representation at the plea

hearing that there was no meritorious defense to the charges was marred by his failure to

pursue the suppression motion. (Id.) His reply brief contends that “the record is unclear

regarding what facts counsel knew before Byrd plead guilty, and whether his decision not

to file a motion to suppress was an objectively reasonable choice based on strategy.” (ECF

No. 181 at 5).

       Defendant’s claim is dependent upon a finding that the search warrant was issued

without probable cause or otherwise invalid, which is simply not the case. See Illinois v.

                                            17
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 18 of 26 PageID #: 202




Gates, 462 U.S. 213, 239 (1983). First, the omission of the fact that there were other

people present at the St. Albans house where the drug sales occurred appears to be

immaterial, as there was video and audio evidence that undoubtedly implicated

Defendant as the person conducting those drug sales. Moreover, the warrant affidavit

clearly demonstrates that law enforcement surveillance established that Defendant was

living in the residence in Barboursville and had traveled to and from that residence to

complete the drug transactions in St. Albans. Specifically, the warrant affidavit states in

pertinent part:

       After the controlled purchase detective observed the target get into a black
       Cadillac Escalade bearing WV registration O1E821 that the target had used
       to transport and deliver narcotics on prior purchases. The target then took
       Route 60 into Cabell County. Detectives then followed Mr. Byrd and the
       Escalade to Mr. Byrd’s residence located at Hazel Jay Estates #14
       Barboursville WV (Cabell County). Mr. Byrd exited the Escalade and
       entered the residence numbered “14.” During surveillance in prior days Mr.
       Byrd has been seen staying at this residence and carrying groceries inside
       after visiting Walmart. It is believed this is his primary residence. The CI
       believes this residence is where Mr. Byrd is keeping the large amount of tar
       heroin he distributes and the US currency made by drug sells.

(ECF No. 146 at 26).

       These facts were in no way misleading, and, under the totality of the circumstances,

this information was sufficient to find probable cause for the search warrant for the

Barboursville residence. Moreover, the warrant otherwise appears to be valid and there

is no basis upon which to challenge the reasonableness of the search.           In fact, at

sentencing, the Court opined that “there is certainly no basis to contest the

constitutionality of that search . . . .” (ECF No. 88 at 12). Thus, it is extremely unlikely

that Defendant would have succeeded with a motion to suppress had he filed one.

Therefore, notwithstanding Defendant’s assertion that Booten’s failure to file a

suppression motion fell below an objective standard of reasonableness, he cannot

                                            18
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 19 of 26 PageID #: 203




demonstrate the requisite prejudice to establish a violation of his constitutional rights on

this basis and, thus, his claim lacks merit.

       C.     Failure to move for competency hearing before guilty plea.

       Defendant further contends that Booten provided ineffective assistance of counsel

because he did not file a motion for a competency evaluation before Defendant pled guilty.

(ECF No. 146 at 20; ECF No. 172 at 24-25, 27-28; ECF No. 181 at 4-5). Booten’s affidavit

asserts that he did not file such a motion because he did not believe Defendant was

incompetent and he “observed nothing that would serve as a basis for requesting a mental

exam prior to entry of defendant’s plea.” (ECF No. 167 at 2, 5). Booten further states that

he only filed the motion for a mental health evaluation before sentencing at the behest of

Defendant and his mother and their threats to file a complaint against him with the State

Bar. (Id.)

       “[T]he conviction of an accused person while he is legally incompetent violates due

process.” Pate v. Robinson, 383 U.S. 375, 378 (1966). To be competent to stand trial, a

defendant must have “sufficient present ability to consult with his lawyer with a

reasonable degree of rational understanding—and . . . a rational as well as factual

understanding of the proceedings against him.” Dusky v. United States, 362 U.S. 402

(1960). The standards for competency to stand trial and to enter a guilty plea are the

same, though a court accepting a guilty plea must also undertake sufficient inquiry to

ensure that a defendant is knowingly and voluntarily waiving his trial and other

constitutional rights. See Godinez v. Moran, 509 U.S. 389, 396 (1993); Roach v. Martin,

757 F.2d 1463, 1480 (4th Cir. 1985) (due process requires a defendant be legally

competent to plead guilty); Shaw v. Martin, 733 F.2d 304, 314 (4th Cir. 1984) (the

standard of competence to plead guilty parallels the standard of competency to stand

                                               19
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 20 of 26 PageID #: 204




trial). The Fourth Circuit has found, however, that “[n]ot every manifestation of mental

illness demonstrates incompetence to stand trial; rather, the evidence must indicate a

present inability to assist counsel or understand the charges.” Burket v. Angelone, 208

F.3d 172, 192 (4th Cir. 2000). A defendant asserting that he is legally incompetent must

prove it by a preponderance of the evidence. United States v. General, 278 F.3d 389, 396

(4th Cir. 2002).

      A competency hearing may be warranted “if there is reasonable cause to believe

that the defendant may presently be suffering from a mental disease or defect rendering

him mentally incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his defense.” 18

U.S.C. § 4241(a) (2012); see also United States v. Hemphill, 622 F. App'x 271, 272 (4th

Cir. 2015). To determine whether reasonable cause for a competency hearing exists, the

court should consider such factors as “(1) any history of irrational behavior; (2) the

defendant's demeanor at and prior to [court proceedings]; and (3) prior medical opinions

on competency.” General, 278 F.3d at 397. “Where, however, the facts known and

available, or with minimal diligence accessible, to defense counsel raise a reasonable

doubt as to a defendant's mental condition, counsel has an affirmative obligation to make

further inquiry.” Wood v. Zahradnick, 430 F. Supp. 107, 111 (E.D. Va. 1977) (internal

citation omitted), aff'd, 578 F.2d 980 (4th Cir. 1978). “And where such reasonable doubt

arises, a lawyer ‘is not entitled to rely on his own belief about a defendant's mental

condition,’ but instead must make a reasonable investigation when the facts known and

available raise a question as to a defendant's competence.” Mann v. United States, 66 F.

Supp.3d 728, 736 (E.D. Va. 2014) (quoting Becton v. Barnett, 920 F.2d 1190, 1192 (4th

Cir. 1990)). Nonetheless, Defendant must ultimately demonstrate that, if his counsel had

                                           20
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 21 of 26 PageID #: 205




moved for a competency hearing, evidence would have been uncovered to reveal that he

was incompetent. McDaniels v. United States, No. CR 7:06-00036-HFF-1, 2011 WL

13308712, at *3 (D.S.C. Jan. 7, 2011).

       In this case, the record demonstrates nothing that would have caused a reasonable

attorney in Booten's position to doubt Defendant's mental capacity at the time of his plea.

Defendant has failed to allege facts creating any reasonable doubt as to his competence

or demonstrating that Booten's failure to request a mental evaluation “fell below an

objective standard of reasonableness” for competent counsel. See, e.g., Page v. United

States, No. 4:13CR63, 2015 WL 4571316, at *5 (E.D. Va. July 28, 2015). Defendant has

offered no evidence to demonstrate that, at the time of his criminal proceedings, and in

particular his guilty plea, he was not competent to enter his plea. Additionally, the Court

inquired about his ability to understand the proceedings at that time and specifically

found that Defendant was competent and that his guilty plea was knowing and voluntary.

Defendant offers nothing more than speculation in attempting to call these findings into

doubt. See also Mann, 66 F.Supp.3d at 378–79 (refusing to find ineffective assistance of

counsel for failure to request competency hearing where the petitioner displayed

competency throughout the proceedings but previously suffered from drug abuse, polio,

and meningitis).

        Although Defendant presents evidence that he had previously been diagnosed

with learning disabilities, anxiety and depression, and was a substance abuser, such

disorders are not per se indicia of incompetence. See United States v. Robinson, No. 96-

4771, 1997 WL 294483, at *1 (4th Cir. June 3, 1997) (“An opinion that a defendant is a

substance abuser or a paranoid schizophrenic does not constitute an opinion on

competency.”); Hall v. United States, 410 F.2d 653, 658 (4th Cir. 1969) (“[T]he presence

                                            21
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 22 of 26 PageID #: 206




of some degree of mental illness is not to be equated with incompetence to be

sentenced.”). Instead, it is evident from the transcript of the plea hearing that Defendant

possessed the competence to plead guilty. Thus, even if Booten was somehow deficient

in not making a motion for a competency hearing before Defendant pled guilty, Defendant

has not reasonably alleged that he was prejudiced by this decision. Therefore, he has not

sufficiently established a Sixth Amendment violation under Strickland.

       D.     Failure to object to PSR and performance at sentencing.

       Defendant also asserts that Booten provided ineffective assistance during his

sentencing proceedings. In particular, he claims that Booten erred in failing to challenge

the § 924(c) charge and, instead, argue only for a two-level enhancement under U.S.S.G.

§ 2D1.1(b)(1) for possession of a dangerous weapon (Defendant appears to agree that this

guideline enhancement would have been warranted, although it was not imposed).

However, as addressed in detail above, there was sufficient factual support for the §

924(c) offense and there does not appear to be any valid basis to challenge that conviction.

       Defendant further asserts that Booten should have challenged his criminal history

category calculation. The Court determined that Defendant had four criminal history

points based on one point for an April 28, 2010 domestic battery conviction in Wood

County, for which he received a 30-day suspended sentence, with a 60-day term of

probation, and three points for a January 3, 2014 conviction in the Southern District of

Ohio for possession with intent to distribute Oxycodone, for which was sentenced to 24

months of imprisonment, followed by a three-year term of supervised release. This

calculation was technically correct under the guidelines. Thus, an objection thereto would

not have been successful. However, Booten requested a variance from criminal history

category III to a criminal history category II, asserting that Defendant’s criminal history

                                            22
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 23 of 26 PageID #: 207




was overrepresented by the nearly ten-year-old battery conviction. Nonetheless, no

variance was granted by the Court.

       It is apparent from the record that Booten reasonably, but unsuccessfully, argued

for a lower criminal history calculation and an overall variance from Defendant’s

guideline sentence determination. Defendant has not suggested what else Booten could

have or should have done to change the Court’s decision. Accordingly, Defendant has not

established that Booten’s conduct fell below an objective standard of reasonableness and

has not demonstrated a valid Sixth Amendment violation on this basis.

       E.     Appellate counsel’s performance on appeal.

       Defendant retained new counsel, Patrick A. Mullin, to represent him on appeal. In

his appeal, Defendant raised three claims for relief: (1) that Booten was ineffective in

advising him to plead guilty to the firearm count; (2) that the District Court unreasonably

denied his request for a downward variance; and (3) that the District Court abused its

discretion in denying his motion for a presentence mental evaluation. Although his initial

brief does not contain much detail about Mullin’s conduct, Defendant appears to claim

that Mullin provided ineffective assistance of counsel because he raised the challenge to

the § 924(c) offense as a claim of ineffective assistance of counsel, which the appellate

court declined to address, rather than as a substantive claim. He further asserts that the

facts supporting the invalidity of his guilty plea and the alleged ineffectiveness of attorney

Booten with respect to this issue were clearly established on the record. (ECF No. 146 at

22). Thus, he appears to be asserting that Mullin simply failed to properly, and effectively,

argue those issues. Defendant’s reply brief fails to further elaborate on his ineffective

assistance claim against Mullin.



                                             23
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 24 of 26 PageID #: 208




      Courts should ordinarily find ineffective assistance of counsel for failure to raise

claims on appeal only when “ignored issues are clearly stronger than those presented.”

Smith v. Robbins, 528 U.S. 288 (2000) (internal citation and quotation omitted).

Appellate counsel is not required to assert all non-frivolous issues on appeal. Griffin v.

Aiken, 775 F.2d 1226, 1235 (4th Cir. 1985). Rather, “it is the hallmark of effective

appellate advocacy” to winnow out weaker arguments and to focus on more promising

issues.” Smith v. Murray, 477 U.S. 527, 536 (1986). Thus, “[a] decision with respect to

an appeal is entitled to the same presumption that protects sound trial strategy.” Pruett

v. Thompson, 996 F.2d 1560, 1568 (4th Cir. 1993). Additionally, the movant still bears

the burden of showing that there is a reasonable probability that but for counsel's failure

to raise an issue on appeal, the result of the proceeding would have been different;

namely, that he would have prevailed on appeal. See Robbins, 528 U.S. at 285-86;

Shareef v. United States, No. 318CR00157RJCDCK3, 2022 WL 1416424, at *3 (W.D.N.C.

May 4, 2022).

      Here, the undersigned has already found that Defendant’s other claims for relief

have no substantive merit. Therefore, he cannot establish the requisite prejudice from

Mullin’s failure to raise these substantive claims because he cannot demonstrate that the

result of his appeal would have been different had Mullin asserted them. Nor has

Defendant established how Mullin could have differently handled the issues surrounding

Booten’s performance. Accordingly, the undersigned proposes that the presiding District

Judge FIND that Defendant has not sufficiently established a violation of his Sixth

Amendment rights based upon Mullin’s actions in his direct appeal proceedings.




                                            24
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 25 of 26 PageID #: 209




       F.       There is no valid need for an evidentiary hearing.

       Defendant takes issue with various statements made in Booten’s affidavit and he

claims that an evidentiary hearing is necessary to complete the record and resolve those

disputes. However, many of the disputed issues addressed in Booten’s affidavit and

Defendant’s filings are not material to the resolution of his claims for relief under § 2255.

Thus, the undersigned finds that the material facts necessary to adjudicate Defendant’s

claims for relief under § 2255 are already within the record and there is no need for an

evidentiary hearing herein.

                                IV.     RECOMMENDATION

       For all of the reasons stated herein, it is respectfully RECOMMENDED that the

presiding District Judge DENY Defendant’s Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255 (ECF No. 146) and DISMISS this civil action from the

docket of the court.

       The parties are notified that this Proposed Findings and Recommendations is

hereby FILED, and a copy will be submitted to the Honorable Robert C. Chambers,

United States District Judge. Pursuant to the provisions of Title 28, United States Code,

Section 636(b)(1)(B), Rule 8(b) of the Rules Governing Proceedings in the United States

District Courts Under Section 2255 of Title 28, United States Code, and Rule 45(c) of the

Federal Rules of Criminal Procedure, the parties shall have fourteen days (filing of

objections) and then three days (service/mailing) from the date of filing this Proposed

Findings and Recommendations within which to file with the Clerk of this Court, specific

written     objections,   identifying   the   portions   of   the   Proposed   Findings   and

Recommendations to which objection is made, and the basis of such objection. Extension

of this time period may be granted by the presiding District Judge for good cause shown.

                                               25
  Case 3:21-cv-00404 Document 195 Filed 06/23/22 Page 26 of 26 PageID #: 210




      Failure to file written objections as set forth above shall constitute a waiver of de

novo review by the District Court and a waiver of appellate review by the Circuit Court of

Appeals. Snyder v. Ridenour, 889 F.2d 1363 (4th Cir. 1989); Thomas v. Arn, 474 U.S.

140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce,

727 F.2d 91 (4th Cir. 1984). Copies of such objections shall be served on the opposing

party and Judge Chambers.

      The Clerk is directed to file this Proposed Findings and Recommendations, to mail

a copy of the same to Defendant, and to transmit a copy to counsel of record.




June 23, 2022




                                           26
